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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

DAVID ZWICK,                                   )
                             Plaintiff,        )
v.                                             ) No. 14 C 5044
                                               )
INTELIQUENT, INC.,                             ) District Judge Thomas M. Durkin
RICHARD MONTO, and                             )
JOHN HARRINGTON,                               )
                             Defendants.       )

                NOTICE OF FILING OF EXHIBITS IN SUPPORT OF
                PLAINTIFF DAVID ZWICK’S MOTION TO SQUASH

Exhibit 1    Inteliquent’s Subpoena To The Clinton Group
Exhibit 2    Inteliquent’s Subpoena To Gregory Taxin
Exhibit 3    Proposed Count X to Second Amended Complaint


Dated: April 4, 2015
                                          Respectfully submitted,
                                          David Zwick

                                          /s/ Stuart J. Chanen


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                                CERTIFICATE OF SERVICE

       I certify that on April 4, 2015, I caused the attached Exhibits to be filed with the Court’s

electronic filing (ECF) system. Notice of this filing will be sent to all counsel of record through

the ECF system. In addition, parties may access this filing through the ECF system.

                                             /s/ Stuart J. Chanen




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